                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,

       v.                                                   Case No. 17-CR-122

RESIT TAVAN,
                              Defendant.



                                     PLEA AGREEMENT



      I.       The United States of America, by its attorneys, Matthew D. Krueger, United

States Attorney for the Eastern District of Wisconsin, and Paul L. Kantor and Keith S.

Alexander, Assistant United States Attorneys, and William Mackie, Trial Attorney, National

Security Division, U.S. Department of Justice, and the defendant, Resit Tavan, individually and

by his attorneys Nejla K. Lane and Robert L. Gevirtz , pursuant to Rule 11 of the Federal Rules

of Criminal Procedure, enter into the following plea agreement:

                                           CHARGES

      2.       The defendant has been charged in a thirteen-count Indictment which alleges a

violations of Title 18, United States Code, Sections 2, 371, 554(a), 1956(a)(2)(A), and Title 50,

United States Code, Section 1705(a).

      3.       The defendant has read and fully understands the charges contained in the

Indictment. He fully understands the nature and elements of the crimes with which he has been

charged, and the charges and the terms and conditions of the Plea Agreement have been fully

explained to him by his attorneys.




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       4.       The defendant voluntarily agrees to plead guilty to Count One of the

Indictment as fully set forth in Attachment A.

       5.       The defendant acknowledges, understands, and agrees that he is, in fact, guilty of

the offense of conspiracy as described in Attachment A. The parties acknowledge and understand

that if this case were to proceed to trial, the government would be able to prove the facts set forth

in Attachment B beyond a reasonable doubt. The defendant admits that these facts are true and

correct and establish his guilt beyond a reasonable doubt. This information is provided for the

purpose of setting forth a factual basis for the plea of guilty. It is not a full recitation of the

defendant's knowledge of, or participation in, this offense.

                                             PENALTIES

       6.       The parties understand and agree that the offense to which the defendant will

enter a plea of guilty as charged in Count One carries the following maximum penalties: five

years imprisonment and a criminal fine of $250,000. The defendant must also pay a mandatory

special assessment of $100 and is subject to a maximum of three years of supervised release.

       7.       The defendant acknowledges, understands, and agrees that he has discussed the

relevant statutes as well as the applicable sentencing guidelines with his attorney.

              DISMISSAL OF REMAINING COUNTS OF THE INDICTMENT

       8.       The government agrees to move to dismiss the remaining counts of the Indictment

at the time of sentencing.

                                             ELEMENTS

       9.       The parties understand and agree that in order to sustain the charge of conspiracy

as set forth in Count One, the government must prove each of the following propositions beyond

a reasonable doubt:



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   First, that the conspiracy as charged existed;
   Second, that the defendant knowingly became a member of the conspiracy with an intent to
   advance the conspiracy; and
   Third, that one of the conspirators committed an act in furtherance of the conspiracy in an
   effort to advance the goals of the conspiracy.

                                  SENTENCING PROVISIONS

      10.      The parties agree to waive the time limits in Fed. R. Crim. P. 32 relating to the

presentence report, including that the presentence report be disclosed not less than 35 days

before the sentencing hearing, in favor of a schedule for disclosure, and the filing of any

objections, to be established by the Court at the change of plea hearing.

      11.      The parties acknowledge, understand, and agree that any sentence imposed by the

Court will be pursuant to the Sentencing Reform Act, and that the Court will give due regard to

the Sentencing Guidelines when sentencing the defendant.

      12.      The defendant acknowledges and agrees that his attorney has discussed the

potentially applicable Sentencing Guidelines provisions with him to the defendant's satisfaction.

      13.      The parties acknowledge and understand that prior to sentencing the United States

Probation Office will conduct its own investigation of the defendant's criminal history. The

parties further acknowledge and understand that, at the time the defendant enters a guilty plea,

the parties may not have full and complete information regarding the defendant's criminal

history. The parties acknowledge, understand, and agree that the defendant may not move to

withdraw the guilty plea solely as a result of the sentencing Court's determination of the

defendant's criminal history.

                                Sentencing Guidelines Calculations

      14.      The defendant acknowledges and understands that the Sentencing Guidelines

recommendations contained in this Plea Agreement do not create any right to be sentenced

within any particular sentence range, and that the Court may impose a reasonable sentence above

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or below the Guideline range. The parties further understand and agree that if the defendant has

provided false, incomplete, or inaccurate information that affects the calculations, the

government is not bound to make the recommendations contained in this Plea Agreement.

                                          Relevant Conduct

      15.       The parties acknowledge, understand, and agree that pursuant to Sentencing

Guidelines Manual § 1B1.3, the sentencing judge may consider relevant conduct in calculating

the Sentencing Guidelines range, even if the relevant conduct is not the subject of the offense to

which the defendant is pleading guilty.

                                         Base Offense Level

      16.       The parties agree to recommend to the sentencing court that the applicable

Sentencing Guidelines Base Offense Level for the offense charged in Count One is 26 under

Sentencing Guidelines Manual §2M5.1.

                                  Specific Offense Characteristics

      17.       The parties agree that there are no provisions for a specific offense characteristic

adjustment under Sentencing Guidelines Manual § 2M5.1 with regard to Count One.

                                   Acceptance of Responsibility

      18.       The government agrees to recommend a two-level decrease for acceptance of

responsibility as authorized by Sentencing Guidelines Manual § 3E1 .1(a), but only if the

defendant exhibits conduct consistent with the acceptance of responsibility. In addition, if the

court determines at the time of sentencing that the defendant is entitled to the two-level reduction

under § 3E1.1(a), the government agrees to make a motion recommending an additional one-

level decrease as authorized by Sentencing Guidelines Manual § 3E1.1(b) because the defendant

timely notified authorities of his intention to enter a plea of guilty.



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                                 Sentencing Recommendations

      19.      Both parties reserve the right to provide the Court and the United States Probation

Office with any and all information which might be pertinent to the sentencing process,

including but not limited to any and all conduct related to the offense as well as any and all

matters which might constitute aggravating or mitigating sentencing factors.

      20.      Both parties reserve the right to make recommendations regarding any and all

factors pertinent to the determination of the Sentencing Guideline range; any fine to be imposed;

the length of supervised release and the terms and conditions of the release; the defendant's

custodial status pending the sentencing; and any other matters not specifically addressed by this

Plea Agreement.

      21.      The government agrees to recommend a sentence at the low end of the applicable

Sentencing Guidelines range as determined by the Court. The defendant reserves the right to

recommend a sentence below the Sentencing Guideline range as determined by the Court.

                             Court's Determinations at Sentencing

      22.      The parties acknowledge, understand, and agree that neither the Court nor the

United States Probation Office is a party to or bound by this Plea Agreement. The United States

Probation Office will make its own recommendations to the Court. The Court will make its own

determinations regarding any and all issues relating to the imposition of sentence and may

impose any sentence authorized by law up to the maximum penalties set forth in Paragraph 6.

The parties further understand that the Court will be guided by the Sentencing Guidelines but

will not be bound by the Sentencing Guidelines and may impose a reasonable sentence above or

below the calculated Sentencing Guideline range.

      23.      The parties acknowledge, understand, and agree that the defendant may not move

to withdraw the guilty plea solely as a result of the sentence imposed by the Court.
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                                     FINANCIAL MATTERS

      24.      The defendant acknowledges and understands that any and all financial

obligations imposed by the Court are due and payable in full upon entry of the judgment of

conviction. The defendant further understands that any payment schedule imposed by the Court

shall be the minimum the defendant is expected to pay and that the government's collection of

any and all court imposed financial obligations is not limited to the payment schedule. The

defendant agrees not to request any delay or stay in payment of any and all financial obligations.

If the defendant is incarcerated, the defendant agrees to participate in the Bureau of Prisons'

Inmate Financial Responsibility Program, regardless of whether the court specifically directs

participation or imposes a schedule of payments.

      25.       The defendant agrees to provide to the Financial Litigation Unit (FLU) of the

United States Attorney's Office, at least 30 days before sentencing, and also upon request of the

FLU during any period of probation or supervised release imposed by the Court, a complete and

sworn financial statement on a form provided by FLU and any required documentation.

                                        Special Assessment

      26.      The defendant agrees to pay the special assessment in the amount of $100 prior to

or at the time of sentencing.

                                             Forfeiture

      27.      The parties agree that any forfeiture of the defendant's funds or properties that

may have constituted the proceeds of the offense to which he is pleading guilty, or were used to

facilitate such offense shall be subject to forfeiture and that any forfeiture of the same will be

determined by the court prior to or at the time of sentencing. The defendant agrees that all funds

or properties which may be identified as constituting the proceeds of the offense to which he is

pleading guilty, or were used to facilitate such offense shall be subject to forfeiture. The
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defendant agrees to the forfeiture of these funds or properties and to the immediate entry of a

preliminary order of forfeiture. The parties acknowledge and understand that the government

reserves the right to proceed against assets not specifically identified in this Plea Agreement,

information and/or bill of particulars.

                                DEFENDANT'S COOPERATION

      28.        The defendant, by entering into this Plea Agreement, further agrees to fully and

completely cooperate with the government in its investigation of this and related matters, and to

testify truthfully and completely before the grand jury and at any subsequent trials or

proceedings, if asked to do so and if the defendant is at that time present in the United States.

The government agrees to advise the sentencing judge of the nature and extent of the defendant's

cooperation. The parties acknowledge, understand and agree that if the defendant provides

substantial assistance to the government in the investigation or prosecution of others, the

government, in its discretion, may recommend a downward departure from: (a) the applicable

sentencing guideline range; (b) any applicable statutory mandatory minimum; or (c) both. The

defendant acknowledges and understands that the court will make its own determination

regarding the appropriateness and extent to which such cooperation should affect the sentence.

                             DEFENDANT'S WAIVER OF RIGHTS

      29.        In entering this agreement, the defendant acknowledges and understands that he

surrenders any claims he may have raised in any pretrial motion, as well as certain rights which

include the following:

            a.      If the defendant persisted in a plea of not guilty to the charges against him, he
                    would be entitled to a speedy and public trial by a court or jury. The defendant
                    has a right to a jury trial. However, in order that the trial be conducted by the
                    judge sitting without a jury, the defendant, the government and the judge all
                    must agree that the trial be conducted by the judge without a jury.



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             b.      If the trial is a jury trial, the jury would be composed of twelve citizens
                     selected at random. The defendant and his attorney would have a say in who
                     the jurors would be by removing prospective jurors for cause where actual
                     bias or other disqualification is shown, or without cause by exercising
                     peremptory challenges. The jury would have to agree unanimously before it
                     could return a verdict of guilty. The Court would instruct the jury that the
                     defendant is presumed innocent until such time, if ever, as the government
                     establishes guilt by competent evidence to the satisfaction of the jury beyond a
                     reasonable doubt.

             c.      If the trial is held by the judge without a jury, the judge would find the facts
                     and determine, after hearing all of the evidence, whether or not he was
                     persuaded of defendant's guilt beyond a reasonable doubt.

             d.      At such trial, whether by a judge or a jury, the government would be required
                     to present witnesses and other evidence against the defendant. The defendant
                     would be able to confront witnesses upon whose testimony the government is
                     relying to obtain a conviction and he would have the right to cross-examine
                     those witnesses. In turn the defendant could, but is not obligated to, present
                     witnesses and other evidence on his own behalf. The defendant would be
                     entitled to compulsory process to call witnesses.

             e.      At such trial, defendant would have a privilege against self-incrimination so
                     that he could decline to testify and no inference of guilt could be drawn from
                     his refusal to testify. If defendant desired to do so, he could testify on his own
                     behalf.

      30.         The defendant acknowledges and understands that by pleading guilty he is

waiving all the rights set forth above. The defendant further acknowledges the fact that his

attorney has explained these rights to him and the consequences of his waiver of these rights.

The defendant further acknowledges that as a part of the guilty plea hearing, the Court may

question the defendant under oath, on the record, and in the presence of counsel about the

offense to which the defendant intends to plead guilty. The defendant further understands that his

answers may later be used against him in a prosecution for perjury or false statement.

      31 .        The defendant acknowledges and understands that he will be adjudicated guilty of

the offense to which he will plead guilty and thereby may be deprived of certain rights should he

at some point become a citizen of the United States, including but not limited to the right to vote,


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to hold public office, to serve on a jury, to possess firearms, and to be employed by a federally

insured financial institution.

      32.      The defendant knowingly and voluntarily waives all claims he may have based

upon the statute of limitations, the Speedy Trial Act, and the speedy trial provisions of the Sixth

Amendment. The defendant agrees that any delay between the filing of this Plea Agreement and

the entry of the defendant's guilty plea pursuant to this agreement constitutes excludable time

under the Speedy Trial Act.

      33.      Based on the government's concessions in this Plea Agreement, the defendant

knowingly and voluntarily waives his right to appeal his sentence in this case and further waives

his right to challenge his conviction or sentence in any post-conviction proceeding, including but

not limited to a motion pursuant to 28 U.S.C. § 2255. As used in this Paragraph, the term

"sentence" means any term of imprisonment, term of supervised release, term of probation,

supervised release condition, fine, forfeiture order, and restitution order. The defendant's waiver

of appeal and post-conviction challenges includes the waiver of any claim that (1) the statute or

Sentencing Guidelines under which the defendant is convicted or sentenced are unconstitutional,

and (2) the conduct to which the defendant has admitted does not fall within the scope of the

statute or Sentencing Guidelines. This waiver does not extend to an appeal or post-conviction

motion based on (1) any punishment in excess of the statutory maximum, (2) the Court's reliance

on any constitutionally impermissible factor, such as race, religion, or sex, (3) ineffective

assistance of counsel in connection with the negotiation of the Plea Agreement or sentencing, or

(4) a claim that the Plea Agreement was entered involuntarily.

      34.      The defendant knowingly and voluntarily waives any claim or objection he may

have based on any violation of the statute of limitations or lack of venue.



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                             Further Civil or Administrative Action

      35.      The defendant acknowledges, understands, and agrees that the defendant has

discussed with his attorney and understands that nothing contained in this Plea Agreement,

including any attachment, is meant to limit the rights and authority of the United States of

America or any other state or local government to take further civil, administrative, or regulatory

action against the defendant, including but not limited to any listing and debarment proceedings

to restrict rights and opportunities of the defendant to contract with or receive assistance, loans,

and benefits from United States government agencies.

                                 MISCELLANEOUS MATTERS

      36.      Removal and other immigration consequences are the subject of a separate

proceeding, and the defendant understands that no one, including the defendant's attorney or the

Court, can predict to a certainty the effect of the defendant's conviction on the defendant's

immigration status. The defendant nevertheless affirms that the defendant wants to plead guilty

regardless of any immigration consequences, including the potential for automatic removal from

the United States.

                                      GENERAL MATTERS

      37.      The parties acknowledge, understand, and agree that this agreement does not

require the government to take, or not to take, any particular position in any post-conviction

motion or appeal.

      38.      The parties acknowledge, understand, and agree that this Plea Agreement will be

filed and become part of the public record in this case.

      39.      The parties acknowledge, understand, and agree that the United States Attorney's

office is free to notify any local, state, or federal agency of the defendant's conviction.



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      40.       The defendant understands that pursuant to the Victim and Witness Protection

Act, the Justice for Al! Act, and regulations promulgated thereto by the Attorney General of the

United States, the victim of a crime may make a statement describing the impact of the offense

on the victim and further may make a recommendation regarding the sentence to be imposed.

The defendant acknowledges and understands that comments and recommendations by a victim

may be different from those of the parties to this Plea Agreement.

             EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT

      41.       The defendant acknowledges and understands if he violates any term of this Plea

Agreement at any time, engages in any further criminal activity prior to sentencing, or fails to

appear for sentencing, this Plea Agreement shall become null and void at the discretion of the

government. The defendant further acknowledges and understands that the government's

agreement to dismiss any charge is conditional upon final resolution of this matter. If this Plea

Agreement is revoked or if the defendant's conviction ultimately is overturned, then the

government retains the right to reinstate any and all dismissed charges and to file any and all

charges which were not filed because of this Plea Agreement. The defendant hereby knowingly

and voluntarily waives any defense based on the applicable statute of limitations for any charges

filed against the defendant as a result of his breach of this Plea Agreement. The defendant

understands, however, that the government may elect to proceed with the guilty plea and

sentencing. If the defendant and his attorney have signed a proffer letter in connection with this

case, then the defendant further acknowledges and understands that he continues to be subject to

the terms of the proffer letter.

                        VOLUNTARINESS OF DEFENDANT'S PLEA

      42.       The defendant acknowledges, understands, and agrees that he will plead guilty

freely and voluntarily because he is in fact guilty. The defendant further acknowledges and
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agrees that no threats, promises, representations, or other inducements have been made, nor

agreements reached, other than those set forth in this Plea Agreement, to induce the defendant to

plead guilty.

                                    ACKNOWLEDGMENTS
I am the defendant. I am entering into this plea agreement freely and voluntarily. I am not now
on or under the influence of any drug, medication, alcohol, or other intoxicant or depressant,
whether or not prescribed by a physician, which would impair my ability to understand the terms
and conditions of this agreement. My attorney has reviewed every part of this agreement with me
and has advised me of the implications of the sentencing guidelines. I have discussed all aspects
of this case with my attorney and I am satisfied that my attorney has provided effective
assistance of counsel.



Date:
                                             RESIT TAVAN
                                             Defendant


I am the defendant's attorney. I carefully have reviewed every part of this Plea Agreement with
the defendant. To my knowledge, my client's decision to enter intoA 's Plea Agreement is an
informed and voluntary one.



Date:2N         0 -070                                  /4/17f4
                                            NEJLA K. LANE
                                            ROBERT L. GEV1RTZ
                                            Attorneys for the Defendant

For the United States of America:



Date:
                                                TTHEW D. KRUEGER
                                              nited Stes Attorney




                                             AUL L. KANTER
                                            Assistant United States Attorney
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                                        ATTACHMENT A

                                 Relevant Individuals and Entities

At all times relevant to this Indictment:

       1.       RAMOR DIS TICARET, LTD., a/k/a The Ramor Group ("RAMOR"), was

registered as a corporation in Turkey with an office located in Istanbul. RAMOR's business

included procuring commercial marine equipment, goods, and materials from the United States for

shipment to customers in Iran.        One of RAMOR' s customers was Qeshm Madkandalou

Shipbuilding Cooperative of Iran.

       2.       RESIT TAVAN ("TAVAN") was a citizen of Turkey residing in Istanbul.

TAVAN was the sole owner and President of RAMOR.

       3.       FULYA KALAFATOGLU OGUZTURK ("OGUZTURK") was a citizen of

Turkey residing in Istanbul. OGUZTURK was employed by RAMOR as a Deputy Manager.

       4.       Qeshm Madkandalou Shipbuilding Cooperative of Iran ("Madkandalou") was an

Iranian entity affiliated with the Government of the Islamic Republic of Iran. Madkandalou was

located on Qeshm Island, Iran.

       5.       Rohollah Vosoughi ("Vosoughi") was an Iranian citizen who resided at times in

both Iran and Turkey.     Vosoughi worked for both Madkandalou and RAMOR, serving at times

as a commercial manager for Madkandalou.

       6.       Reza Almasi ("Almasi") was an Iranian citizen residing in Tehran and employed at

Madkandalou as a production manager, naval architect, and shipbuilder. Almasi was involved,

among other things, in the development and building of Iranian naval vessels, including a

prototype 16-meter missile attack vessel known as the RMS-16.

       7.     Company A, located in the State and Eastern District of Wisconsin, was a commercial



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outboard engine manufacturer that produced high-powered marine engines for both domestic and

foreign customers.

       8.    Company B, located in the State and Eastern District of Wisconsin, was a commercial

manufacturer that produced, among other products, marine generators used to power the electronic

components of marine vessels.

       9.    Company C, located in the State and Eastern District of Wisconsin, was a commercial

manufacturer that produced, among other marine products, propulsion systems.

                The Iran Trade Embargo and the Iranian Transactions Regulations

       10.     The International Emergency Economic Powers Act ("IEEPA"), Title 50, United

States Code, Section 1702(a)(1), gave the President of the United States broad authority to regulate

exports and other international transactions in times of national emergency. IEEPA controls were

triggered by an executive order declaring a national emergency based on an "unusual and

extraordinary threat, which had its source in whole or substantial part outside the United States, to

the national security, foreign policy, or economy of the United States." Executive orders issued

pursuant to IEEPA could impose broad trade restrictions against a particular country that were

more comprehensive than standard export controls. An embargo barred United States persons

from engaging in a broad range of transactions involving an offending foreign government or its

nationals, unless specific United States government authorization was obtained in advance.

       11.     Pursuant to IEEPA authority, on March 15, 1995, the President issued Executive

Order 12957, which declared a national emergency with respect to Iran and the government of

Iran. The executive order was issued based on presidential findings that the policies and actions

of the government of Iran constituted a threat to the national security of the United States due to


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Iran's support of international terrorism and its attempts to acquire weapons of mass destruction.

        12.     Pursuant to IEEPA authority, on May 6, 1995, the President issued Executive Order

12959, which declared a trade embargo against Iran, prohibiting (with limited exceptions not

applicable here) the export from the United States to Iran of any goods, technology, or services.

On August 17, 1997, the President reiterated and renewed the embargo by issuing Executive Order

13059. The most recent continuation of this declaration of national emergency and embargo was

issued on January 13, 2017. The embargo has remained in effect during all times relevant to this

Indictment.

        13.     The United States Department of Treasury, Office of Foreign Assets Control

("OFAC") issued regulations implementing the executive order and trade embargo (the "Iranian

Transactions Regulations" or "ITR"). In October 2012, the Department of Treasury reissued and

renamed the ITR as the Iranian Transactions and Sanctions Regulations ("ITSR").                The

substantive provisions of the ITR were not changed by this action and remained in effect. Without

a license issued by OFAC, these regulations prohibited both (i) the export of goods or services

from the United States to Iran and (ii) the reexportation of U.S. origin goods and services from a

third country, directly or indirectly, to Iran.

        14.     The Executive Orders and the ITR or ITSR were in effect at all times relevant to

this Indictment.

        15.     At no time relevant to this Indictment did RAMOR, TAVAN, and OGUZTURK,

or any other entity controlled by RAMOR, TAVAN, and OGUZTURK, obtain a license from

OFAC authorizing any of them to export any goods from the United States to Iran.




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          Reports to the United States Government and the Automated Export System

       16.     Under United States law and regulation, exporters, shippers, and freight forwarders

were required to file certain forms and declarations concerning exports of goods and technology

from the United States.    Typically, those filings were completed through the submission of

Electronic Export Information ("EEI") via the Automated Export System ("AES"). The U.S.

Department of Homeland Security ("DHS"), Bureau of Customs and Border Protection,

administered the AES. The EEI and accompanying materials were official documents submitted

to the DHS in connection with export shipments from the United States.

       17.     An essential and material part of the EEI was information concerning the ultimate

consignee and the country of ultimate destination for the export. The identity of the ultimate

consignee determined whether the goods (a) could be exported without any specific authorization

from the United States government; (b) could be exported with the specific authorization and

validated license from OFAC; or (c) could not be exported from the United States.

       18.     The EEI was equivalent to a sworn statement to the United States government that

the transaction occurred as described. The EEI was used by the United States Bureau of Census

to collect trade statistics and by the Department of Commerce, Bureau of Industry and Security

("BIS"), for export control purposes.

                                              COUNT 1

               THE GRAND JURY FURTHER CHARGES THAT:

               19.    Beginning in or around March 2013, the exact date being unknown to the

Grand Jury, and continuing through in or about July 2015, in the State and Eastern District of

Wisconsin and elsewhere,


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                              RAMOR DIS TICARET, LTD.,
                                 a/k/a The Ramor Group,
                                   RESIT TAVAN, and
                           FULYA KALAFATOGLU OGUZTURK,

knowingly and intentionally combined, conspired, confederated, and agreed with each other and

with others known and unknown to the Grand Jury,

         (a) to defraud the United States by impairing, impeding, and obstructing the lawful

governmental functions of the United States Department of Treasury, that is, the enforcement of

laws and regulations prohibiting the export of goods from the United States to Iran without a

license; and

       (b) to commit an offense against the United States, to wit: smuggling, by knowingly and

fraudulently exporting and sending, and attempting to export and send, from the United States to

Iran, articles and objects contrary to IEEPA, Title 50, United States Code, Section 1705, and the

ITSR, Title 31, Code of Federal Regulations 560.203-205, in violation of Title 18, United States

Code, Section 554(a);

                      MANNER AND MEANS OF THE CONSPIRACY

       20.     The conspirators would and did use the following manner and means, among

others, to accomplish the objects of the conspiracy:

               a.       TAVAN, OGUZTURK, and RAMOR, directly and indirectly ordered,

negotiated, and procured equipment, goods, and technologies from United States companies for

the end use of one or more persons and entities associated with, or part of, the Iranian military.

               b.       TAVAN, OGUZTURK, and RAMOR, directly and indirectly purchased

equipment, goods, and technologies from the United States as directed by persons and entities

located in Iran, including Almasi and Madkandalou, knowing that such equipment, goods, and

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technologies would be exported and reexported through Turkey to Iran.

               c.      TAVAN, OGUZTURK, and RAMOR, together with other unindicted

coconspirators, exported and reexported, and caused the export and reexport, of U.S. origin goods,

technology, and services to Iran for the use of persons and entities associated with or part of the

Iranian military and, in order to do so, evaded and otherwise failed to obtain the required export

licenses from the United States government.

                                    ACTS IN FURTHERANCE

       21.     In furtherance of the conspiracy and to effect the objects of the conspiracy, the

conspirators committed or caused to be committed one or more of the following acts in the State

and Eastern District of Wisconsin and elsewhere.

                The Exportation of Two Model 557 Engines from Company A

       22.     In April and May, 2013, TAVAN communicated by email with Vosoughi

concerning the acquisition of U.S. origin Model 557 high-powered outboard engines manufactured

by Company A (the "557 Engines") in the Eastern District of Wisconsin. On May 8, 2013,

TAVAN sent a pro forma invoice to Vosoughi and OGUZTURK regarding the purchase of two

557 Engines.

       23.     On May 15, 2013, Vosoughi sent by email to Almasi and other persons at

Madkandalou a copy of a pro forma invoice regarding the purchase of the 557 Engines showing a

total purchase price of $204,604.

       24.     On May 21, 2013, TAVAN, on behalf of RAMOR, signed a purchase agreement

for the 557 Engines with a U.S. commercial brokerage business acting as an agent for RAMOR in

dealing with Company A. TAVAN represented that the 557 Engines would only be used in


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Turkey and that, pursuant to U.S. law, RAMOR would not transfer the 557 Engines to any

"sanctioned nation."

       25.     On July 1, 2013, TAVAN signed a BIS Form 711, "Statement by Ultimate

Consignee and Purchaser," which identified RAMOR, Istanbul, Turkey, as the ultimate consignee,

and certified that the 557 Engines would be used in Turkey and would not be reexported.

       26.     On September 13, 2013, Vosoughi sent by email to Almasi and others at

Madkandalou, two documents, a packing list and an invoice, both bearing RAMOR letterhead and

addressed to "Qeshm Madkandalou Shipbuilding Cooperative Co., Shibderaz Village - Kandalou

Region - Qeshm Island - Iran." Item 5 on both documents references a set of two outboard motors,

and item 5 on the packing list identifies two 557 horsepower outboard engines manufactured by

Company A.

       27.    On December 29, 2013, Almasi emailed Vosoughi and TAVAN concerning the

return of the 557 Engines from Iran to Turkey.

       28.    On January 27, 2014, Vosoughi emailed TAVAN and OGUZTURK an invoice on

Madkandalou letterhead for return shipment of the 557 Engines from Qeshm Island, Iran, to

RAMOR in Istanbul, Turkey.

       29.    During June 2014, RAMOR transmitted a total of $190,000 from Turkey to

Company A's broker in the United States.

                 The Exportation of a Marine Generator from Company B

       30.    On December 1, 2013, acting on behalf of RAMOR, TAVAN signed a contract

with Madkandalou by which RAMOR agreed to act as a general contractor for Madkandalou on a

project to design and build a "High Speed Composite Boat," known as the RMS-16, for delivery


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and use in Iran. RAMOR agreed to procure necessary component parts required to construct the

RMS-16, including procuring one of three types of marine power generators, one of which was

manufactured in the U.S. by Company B in the Eastern District of Wisconsin.

       31.     On July 14, 2014, Almasi sent an email to Vosoughi and a naval architect directing

that the RMS-16 be designed and constructed to allow clearance for a "Nasr type" missile. In

response, on July 14, 2014, the naval architect sent an email to Almasi, Vosoughi, and TAVAN

confirming that the RMS-16 design provided sufficient clearance for the missile system.

Attached to the email is a digital drawing of the RMS-16 showing integrated covert missile

launching tubes.

       32.    On December 30, 2014, Almasi sent Vosoughi an email that included as an

attachment a pro forma invoice to RAMOR from a Turkish distributor of Company B. The pro

forma invoice, in the amount of $13,250, was for a "17.5EFOZD" marine diesel generator

manufactured by Company B. The invoice included a handwritten notation of "RMS-16."

       33.    On January 5, 2015, and June 30, 2015, RAMOR paid $6,628 and $6,622,

respectively, to Company B's Turkish distributor.   Appearing on a document related to the June

2015 payment are handwritten notations reading "RMS-16," "generator," and the name of

Company B's Turkish distributor.

       34.    On June 1, 2015, via money wire transfer, the Turkish distributor paid $9,686.40 to

Company B for the marine generator.

       35.    On July 6, 2015, Vosoughi emailed Almasi a packing list and invoice on RAMOR

letterhead, dated July 3, 2015, and addressed to Madkandalou which included a line item refening

to Company B's 17.5 Marine Generator; Qty: 1; Origin: USA.


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                The Exportation of Marine Surface Drives from Company C

       36.     Pursuant to the RMS-16 contract, RAMOR sought to purchase marine power

propulsion equipment, known as Arneson ASD-14 Surface Drives, from Company C for delivery

to Madkandalou for use on the RMS-16. On January 30, 2015, a Turkish distributor for Company

C provided a preliminary price quotation to RAMOR for two Arneson ASD-14 Surface Drives,

manufactured by Company C in the Eastern District of Wisconsin.           Vosoughi emailed the

quotation to Almasi on February 10, 2015.

       37.     On February 2, 2015, a Turkish distributor for Company C provided a pro forma

invoice to RAMOR for two Arneson ASD-14 Surface Drives, manufactured by Company C.

Vosoughi emailed the pro forma invoice to Almasi on February 20, 2015, stating a total cost of

$157,000.

       38.     In June 2015, RAMOR paid $142,000 to Company C's Turkish distributor for the

purchase and export of two Arneson ASD-14 Surface Drives.

       39.     On July 6, 2015, Vosoughi emailed Almasi a packing list and invoice on RAMOR

letterhead, dated July 3, 2015, and addressed to Madkandalou which included a line item referring

to Company C's Arneson Propulsion System; Qty: 2; Origin: USA.

       40.    On July 27,2015, the Turkish distributor paid approximately $113,000 to Company

C via money wire transfer for the Arneson ASD-14 Surface Drives.




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                                         ATTACHMENT B

                                     STATEMENT OF FACTS

        The parties acknowledge and understand that if this case were to proceed to trial, the

government would be able to prove the facts set forth below beyond a reasonable doubt. The

defendant admits that these facts are true and correct and establish his guilty beyond a reasonable

doubt. This information is provided for the purpose of setting forth a factual basis for the plea

of guilty. It is not a full recitation of the defendant's knowledge of, or participation in, this

offense.

        The International Emergency Economic Powers Act ("IEEPA"), Title 50, United States

Code, Section 1702(a)(1), gave the President of the United States broad authority to regulate

exports and other international transactions in times of national emergency. IEEPA controls were

triggered by an executive order declaring a national emergency based on an "unusual and

extraordinary threat, which had its source in whole or substantial part outside the United States, to

the national security, foreign policy, or economy of the United States." Executive orders issued

pursuant to IEEPA could impose broad trade restrictions against a particular country that were

more comprehensive than standard export controls. An embargo barred United States persons

from engaging in a broad range of transactions involving an offending foreign government or its

nationals, unless specific United States government authorization was obtained in advance.

        Pursuant to IEEPA authority, on March 15, 1995, the President issued Executive Order

12957, which declared a national emergency with respect to Iran and the government of Iran. The

executive order was issued based on presidential findings that the policies and actions of the

government of Iran constituted a threat to the national security of the United States due to Iran's

support of international terrorism and its attempts to acquire weapons of mass destruction.



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        Pursuant to IEEPA authority, on May 6, 1995, the President issued Executive Order 12959,

which declared a trade embargo against Iran, prohibiting (with limited exceptions not applicable

here) the export from the United States to Iran of any goods, technology, or services. On August

17, 1997, the President reiterated and renewed the embargo by issuing Executive Order 13059.

The most recent continuation of this declaration of national emergency and embargo was issued

on January 13, 2017. The embargo has remained in effect during all times relevant to this

Indictment.

        The United States Department of Treasury, Office of Foreign Assets Control ("OFAC")

issued regulations implementing the executive order and trade embargo (the "Iranian Transactions

Regulations" or "ITR"). In October 2012, the Department of Treasury reissued and renamed the

ITR as the Iranian Transactions and Sanctions Regulations ("ITSR"). The substantive provisions

of the ITR were not changed by this action and remained in effect. Without a license issued by

OFAC, these regulations prohibited both (i) the export of goods or services from the United States

to Iran and (ii) the reexportation of U.S. origin goods and services from a third country, directly

or indirectly, to Iran.

        The Executive Orders and the ITR or ITSR were in effect at all times relevant to this

Indictment. At no time relevant to this Indictment did RAMOR, TAVAN, and OGUZTURK, or

any other entity controlled by RAMOR, TAVAN, and OGUZTURK, obtain a license from OFAC

authorizing any of them to export any goods from the United States to Iran.

        From 2012 onward, the Defendant Resit Tavan (the "Defendant"), a citizen of Turkey

residing in Istanbul, was the sole owner and president of the Istanbul based Turkish corporation

Ramor Dis Ticaret, Ltd., also known as the Ramor Group ("Ramor"). Fulya Kalafatoglu


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Ogurturk ("Ogurturk"), a Turkish citizen, was an employee of Ramor and served as the Acting

Deputy Manager of Ramor. Ramor operated as a commercial supply business, including

procuring marine equipment, goods, and materials from the United States for delivery and

shipment to Iran. A primary customer of Ramor was the Qeshm Madkandalou Shipbuilding

Cooperative ("Madkandalou"), a commercial business located in Qeshm Island, Iran. An

important portion of Madkandalou's business involved marine engineering and boat construction

for Iranian military or naval forces. Rohollah Vosoughi, an Iranian citizen, was a commercial

manager at Madkandalou. Vosoughi worked with the Defendant on site at Ramor from 2013

through 2015. Vosoughi's duties while working at Ramor was to manage and supervise

Ramor's business with Madkandalou in cooperation with the Defendant. Reza Almasi, an

Iranian citizen, was employed at Madkandalou in Iran as a production manager, architect, and

shipbuilder. Almasi's work during this time included developing a proto-type 16 meter missile

attack boat known as the RMS-16.

       From early 2013 through 2015, the Defendant, operating through Ramor and in

association and in cooperation with Ogurturk and Vosoughi, directly and indirectly negotiated,

ordered, procured and caused the illegal export of marine related goods and technologies from

the United States to Madkandalou in Iran for use by the Iranian military, using Turkey as an

intermediary transshipment point. The Defendant (i) received orders for certain U.S. origin

marine materials from persons and entities located in Iran, including Almasi and Madkandalou,

(ii) took actions to cause the procurement of these U.S. origin materials; (iii) caused the export of

these U.S. origin materials from the U.S. to Turkey based upon the false representation that the

true end user was Ramor; and (iv) caused the illegal re-export of these materials to Iran. The


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Defendant had knowledge of U.S. sanctions and the embargo with regard to Iran, and he knew

that U.S. goods and materials could not be exported from the U.S. to Iran.

       In early 2013, the Defendant communicated with both Vosoughi and Almasi about

procuring U.S. origin Model 557 high-powered outboard engines manufactured by a U.S.

company in the Eastern District of Wisconsin (the "557 Engines") for export and delivery to

Madkandalou. In May 2013, the Defendant on behalf of Ramor, executed a purchase agreement

for the purchase of the 557 Engines with the manufacturer's brokerage company. In 2013, the

Defendant signed a U.S. Department of Commerce form (the "BIS Form 711") falsely stating

that the 557 Engines would be only used in Turkey, when the Defendant knew that the 557

Engines were to be delivered and used in Iran by Madkandalou. In September 2013 the 557

Engines were delivered to Madkandalou in Iran, following payments of USD $190,000 by

Ramor to the U.S. based brokerage company acting on behalf of the U.S. based manufacturer.

       In December 2013 the Defendant, acting as an officer of Ramor, entered into a contract

with Madkandalou whereby Ramor agreed to serve as a general contractor for Madkandalou on a

project to design and build a "High Speed Composite Boat," known as the RMS-16, for delivery

and use in Iran (the "RMS-16 Contract"). The Defendant, through Ramor, agreed to procure

various equipment and parts required to construct the RMS-16, including one of three types of

marine power generators, one of which was manufactured in the U.S. in the Eastern District of

Wisconsin (the "Marine Power Generator"). In late 2014, Ramor received a pro forma invoice

for $13,250 for the Marine Power Generator from a Turkish distributor of the U.S. based

manufacturer. Included on this invoice was a handwritten notation of "RMS-16."     In January

and June 2015, RAMOR paid $6,628 and $6,622, respectively, for the purchase of the Marine


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Power Generator to the Turkish distributor of the U.S. manufacturer. The U.S. manufacturer

supplied the Marine Power Generator and exported it from the United States to the Turkish

Distributor, and in July 2015 the Marine Power Generator was shipped to Madkandalou.

       Also in early 2015, pursuant to the RMS-16 contract, the Defendant, acting through

RAMOR, took actions to purchase a specialized marine power propulsion equipment known as

Arneson ASD-14 Surface Drives from a U.S. based manufacturer located in the Eastern District

of Wisconsin for delivery to Madkandalou for use on the RMS-16. In February 2015, Ramor

received a pro forma invoice for $157,000 from a Turkish distributor for the U S manufacturer

for two U.S. origin Arneson ASD-14 Surface Drives. In June 2015, RAMOR paid $142,000 to

the Turkish distributor for the U.S. manufacturer towards the purchase and export of these

Arneson ASD-14 Surface Drives. The U.S. manufacturer supplied the Arneson ASD-14

Surface Drives and exported these items from the United States to the Turkish Distributor. In

July 2015, these Arneson ASD-14 Surface Drives were shipped to Madkandalou.

       From at least July 2014 onward, the Defendant was aware and knew of the general

outlines and nature of the U.S. laws that imposed trade sanctions on Iran and that it was illegal to

export U.S. goods to Iran. The Defendant and Ramor caused the export of the marine

equipment and materials noted above based upon the false representation that the true end user

was Ramor in Turkey. At no time did the Defendant, Ramor or any officers or employees

thereof, or anyone else cause the U.S. manufacturers to apply for, or receive, any export license

or export authorization from the U.S. Department of the Treasury, Office of Foreign Assets

Control ("OFAC") for the export of the specific equipment and parts described herein.




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